925 F.2d 417
    Goldstein (Barry), Rakoff (Terry S.), Shub (Earl), Berger(Alan, Joyce H.), Last Will of Berger (Alan),Margolis &amp; Company, Inc., Muller and Companyv.Mc Causland, Keen &amp; Buckman, Weiner, Zuckerbrot &amp; Weiss,Blatt (Robert A.), Muller (Eddie A.), Olitt (Jerome)
    NO. 90-1569
    United States Court of Appeals,Third Circuit.
    JAN 18, 1991
    
      Appeal From:  E.D.Pa.,
      Newcomer, J.
    
    
      1
      AFFIRMED.
    
    